IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF TENNESSEE

NASHVILLE DIVISION
JAMES A. BUNN )
d/b/a Bunn Trucking, )
Plaintiff )
)
v. ) Case No. 3:18-0651
) Judge Campbell/Frensley
NAVISTAR, INC. )
Defendant )

PLAINTIFF’S MOTION FOR EXTENSION OF TIME
TO FILE A RESPONSE TO DEFENDANT’S MOTION TO DISMISS

Plaintiff, James A. Bunn, respectfully moves for an extension of time, up to and including
August 20, 2018, to file a response to Defendant’s motion in this case. Undersigned counsel
would show that co-counsel has an application for admission to practice in this court pending at
this time. Undersigned counsel needs additional time for co-counsel to be admitted in order to file
a thorough response upon research of the several cases attached to Defendant’s motion.

Based upon the foregoing, Plaintiff requests that the deadline for filing a response to
Defendant’s motion be extended to August 20, 2018. This the first request for an extension, and

this request is not made for the purpose of delay.

Respectfully Submitted,

s/ Stephen W. Pate
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CERTIFICATE OF SERVICE
I hereby certify that the foregoing is being filed via the Court’s ECF system, which is
expected to deliver a copy via electronic means to the following:

Eugene N. Bulso, Jr. (#12005)
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s/ Stephen W. Pate
STEPHEN W. PATE

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